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                                    UNITED STATES DISTRICT COURT
                                               FOR THE
                                     DISTRICT OF MASSACHUSETTS

                                                                                                #24-CR-10090-WGY
                                          _________________________

                                                 UNITED STATES

                                                            v.

                                              WALTER NORTON
                                          _________________________

                       COUNSEL’S MOTION FOR LEAVE TO WITHDRAW

         James L. Sultan, counsel of record for the defendant in the above-captioned criminal case,

hereby moves this Court, pursuant to Local Rule 83.5.2(c)(1), for leave to withdraw. As grounds

therefore, undersigned counsel states that successor counsel has filed an appearance.



                                                                  Respectfully submitted,



                                                                    /s/ James L. Sultan
                                                                  James L. Sultan, BBO #488400
                                                                  jsultan@rankin-sultan.com
                                                                  Rankin & Sultan
                                                                  1666 Massachusetts Avenue, #P-16
                                                                  Lexington, MA 02420
                                                                  (617) 720-0011


                                            CERTIFICATE OF SERVICE

         I hereby certify that this document(s) filed through the ECF System will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants and Walter Norton, #03327-049, Plymouth County Detention Facility, 26 Long Pond Road,
Plymouth, MA 02630 on November 6, 2024.


                                                                                    /s/ James L. Sultan
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